       Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 1 of 15




      UNITED STATES COURT OF INTERNATIONAL TRADE
_________________________________________
                                          )
FEDMET RESOURCES CORPORATION, )
                                          )
          Plaintiff,                      ) NON-CONFIDENTIAL
                                          )
     v.                                   ) Court No. 23-00117
                                          )
UNITED STATES,                            )
                                          )
          Defendant,                      )
                                          )

                               COMPLAINT

     1.    Plaintiff, Fedmet Resources Corporation, by and through its

counsel, hereby alleges and states as follows:

             SUMMARY AND NATURE OF THIS ACTION

     2.    Plaintiff brings this action pursuant to 19 U.S.C.

§ 1516a(a)(2)(A)(ii) and (a)(2)(B)(vi) to contest certain aspects of the

U.S. Department of Commerce’s (“Commerce”) final results of the

covered merchandise inquiry (“CMI”) arising from the 19 U.S.C.

§ 1517(b)(4) covered merchandise referral in the U.S. Customs and

Border Protection (“CBP”) remand proceeding of Enforce and Protect

Act (“EAPA”) Case No. 7412 with regard to the imports of Fedmet

Resources Corporation (“Fedmet”). Certain Magnesia Carbon Bricks
       Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 2 of 15




From the People’s Republic of China: Final Determination in Covered

Merchandise, 88 Fed. Reg. 28,495 (Dep’t Commerce May 4, 2023) (“CMI

Final Results”), and accompanying Issues and Decision Memorandum.

     3.    This Court has jurisdiction over this matter pursuant to

28 U.S.C. § 1581(c) because this action is commenced pursuant to

19 U.S.C. § 1516a.

                       PARTIES AND STANDING

     4.    Plaintiff is an importer to the United States of Magnesia

Alumina Carbon Bricks (“MAC bricks” or “MACBs”) from China who

was alleged in the course of the EAPA proceeding to have imported

Magnesia Carbon Bricks (“MCBs”) from China. Plaintiff was a party

the CBP EAPA Case No. 7412 and its administrative review H316212

pursuant to 19 C.F.R. § 165.1. Plaintiff is also the Plaintiff in the

appeal to this Court of the decisions in those EAPA cases, Fedmet v.

United States, Court No. 21-248, which is currently stayed pending the

results of CBP’s remand results in, EAPA Case No. 7703. Order,

Fedmet v. United States, Court No. 21-248 (Jan. 6, 2022), ECF 38.

Plaintiff participated in that EAPA remand, as well as the CMI

proceeding before Commerce after CBP’s covered merchandise referral.


                                     2
         Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 3 of 15




Plaintiff is therefore an interested party within the meaning of

19 U.S.C. § 1516a(f)(3), and has standing pursuant to 28 U.S.C.

§ 2631(c) to commence this action.

                      TIMELINESS OF THE ACTION

     5.      Commerce mailed the CMI Final Results to parties to the

proceeding on May 12, 2023. Plaintiff timely filed a Summons on

June 8, 2023, within thirty days after the date of mailing of the CMI

Final Results pursuant to 19 U.S.C. § 1516a(a)(2)(A)(ii) and 19 C.F.R. §

351.227(e)(2)(i). This Complaint is filed within thirty days of the filing

of the Summons, in accordance with Rule 3(a)(2) of the Rules of this

Court.

                         STATEMENT OF FACTS

     6.      In July 2009 Resco Products, Inc. (“Resco” or “Petitioner”),

filed a petition that antidumping and countervailing duties be imposed

on MCBs from China. MCBs are a type refractory brick used in

steelmaking to line the walls of steel furnaces and ladles. The petition

stated that it covered only MCBs and was not intended to seek the

imposition of antidumping and countervailing duties on other types of

refractory bricks, including MAC bricks:


                                      3
       Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 4 of 15




     There are several types of standard refractory bricks in addition to
     magnesia carbon, the subject of this petition. Among the most
     important are fired magnesite, fired bauxite, magnesia dolomite
     and magnesia aluminum carbon brick. {sic} Each of these bricks
     possess certain unique properties, which make their use highly
     preferred, and even required, for certain uses in the lining of steel,
     ceramic, and other furnaces and holding vessels. The different
     types of bricks are not generally substitutable in a technical sense,
     due to varying chemical and physical properties and wear
     characteristics.

Certain Magnesia Carbon Bricks from the People’s Republic of China

and Mexico; Petition for the Imposition of Antidumping and

Countervailing Duties Pursuant to the Tariff Act of 1930, As Amended,

Case Nos. A-570-954 and C-570-955 (July 29, 2009) at 10 (emphasis

added).

     7.    Resco reaffirmed the exclusion of MAC bricks from the scope

in multiple subsequent communications with Commerce and the U.S.

International Trade Commission (“ITC”) over the course of those

investigations. See generally Fedmet Resources Corp. v. United States,

755 F.3d 912, 914-16 (Fed. Cir. 2014). At the conclusion of the

investigations, Commerce issued antidumping and countervailing duty

orders on MCBs. Certain Magnesia Carbon Bricks From Mexico and

the People’s Republic of China: Antidumping Duty Orders, 75 Fed. Reg.

57,257 (Dep’t Commerce Sept. 20, 2010); Certain Magnesia Carbon

                                    4
       Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 5 of 15




Bricks from the People’s Republic of China: Countervailing Duty Order,

75 Fed. Reg. 57,442 (Dep’t Commerce Sept. 21, 2010) (collectively,

“Orders”).

     8.      Despite the express exclusion of MAC bricks from the

petitions and the antidumping and countervailing duty investigations,

the final scope language adopted in the Orders merely defined the

subject merchandise as chemically-bonded refractory bricks composed of

70 percent or more magnesia and carbon (i.e., graphite), together with

other elements and additives. Id. MAC bricks, like subject MCBs, are

also chemically bonded refractory bricks that often contain 70 percent

or more magnesia, together with carbon. MAC bricks, however, contain

added alumina, while MCBs do not contain alumina.

     9.      Because the Orders did not reflect the petitioner’s express

exclusion of MAC bricks, in May of 2011, Fedmet requested a scope

ruling at Commerce confirming that Fedmet’s Bastion MAC bricks were

outside the scope of the Orders. Fedmet described its MAC bricks as

containing “approximately 8 to 15 percent aluminum oxide,” and

provided an information bulletin showing that they contained

approximately 10 percent alumina by weight along with a quality


                                     5
       Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 6 of 15
                                                   NON-CONFIDENTIAL


certificate from a contracted Chinese manufacturer showing a sample

brick as containing [      ] percent alumina per its own testing.

Despite having excluded MAC bricks by name from its petition, Resco

opposed Fedmet’s scope ruling request, arguing that there was no such

thing as a MAC brick, and claiming that Fedmet had “unilaterally

created this so-called product and product name in order to specifically

circumvent the scope of the orders.” Letter to Sec’y Commerce from

Doyle, Barlow & Mazard PLLC, “Antidumping and Countervailing Duty

Orders on Certain Magnesia Carbon Bricks from People’s Republic of

China and Antidumping Duty Order on Magnesia Carbon Bricks from

Mexico: Request for Scope Ruling,” (Aug. 31, 2011) at 3.

     10.   Following protracted litigation, the U.S. Court of Appeals for

the Federal Circuit (“Court of Appeals”) held that Fedmet’s Bastion

MAC bricks were outside the scope of the MCB Orders. The Court of

Appeals emphasized Resco’s role in the (k)(1) sources defining the

orders to expressly exclude all MAC bricks:

     To put it simply, the question before this Court was asked and
     answered during the underlying investigations. Resco had an
     opportunity to clarify whether MAC bricks were included within
     the scope of the investigations, and it confirmed that they were
     not. In doing so, Resco chose to rely on industry terminology to


                                    6
       Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 7 of 15




     continue to define the subject merchandise and the domestic like
     product.

Fedmet, 755 F.3d at 920. The Court of Appeals summarized that

“because nothing in the (k)(1) sources detracts from the otherwise clear

statements that all MAC bricks were excluded from the scope of the

underlying investigations, we hold that the (k)(1) sources are dispositive

of the question presented by Fedmet's scope ruling request,” and

concluding: “Because Fedmet’s bricks are MAC bricks, we hold that

they are not covered merchandise.” Id. at 922 (emphasis in original).

     11.   On June 18, 2015, Commerce issued an amended final scope

ruling implementing the Court of Appeals’ decision by excluding

Bastion MAC bricks from the scope of the Orders:

     Accordingly, the Department finds that Fedmet’s Bastion®
     MACBs as defined in its Scope Request as containing
     “approximately 8 to 15 percent aluminum oxide (chemical formula
     Al203), more commonly known as alumina, 3 to 15 percent carbon,
     75 to 90 percent magnesia, as well as smaller amounts of silicon
     dioxide, calcium oxide, iron oxide, {and} titanium dioxide,” are not
     subject to the Orders. Further, as the Department stated in
     Fedmet’s Final Scope Ruling, the “scope ruling is limited to
     Fedmet Bastion MAC bricks, and is not intended to address all
     bricks designated as MAC bricks, in particular because there is no
     apparent industry standard for defining a MAC brick based upon
     the record of this case.




                                    7
       Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 8 of 15




Final Results of Redetermination Pursuant to Court Remand Magnesia

Carbon Bricks from the People’s Republic of China and Mexico, Fedmet

Resources Corporation v. United States, Court No. 12-00215 (Feb. 23,

2015) (“Fedmet Scope Ruling”) at 7. Significantly, in the remand

proceedings, Resco argued for the first time that Commerce should re-

open the record to admit evidence about the appropriately testing

protocols, but Commerce expressly declined to do so. Id. at 9-10.

     12.   In June 2017, Commerce reaffirmed that, in accordance with

the decision of the Court of Appeal in Fedmet, all MAC bricks are

outside the scope of the orders on MCBs from China. Memorandum to

Gary Taverman, Deputy Assistant Secretary, Antidumping and

Countervailing Duty Operations from Edward C. Yang, Senior Director,

Antidumping and Countervailing Duty Operations, Office VII, “Certain

Magnesia Carbon Bricks from the People’s Republic of China and

Mexico: Final Scope Ruling – S&S Refractories,” on record of Cases A-

201-837, A-570-954, and C-570-955 (June 7, 2017) (“S&S Refractories

Scope Ruling”). However, Commerce found that bricks imported from

China by S&S Refractories, LLC were only be considered outside the

scope of the Orders MAC bricks provided they contained at least 5


                                    8
       Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 9 of 15




percent added alumina when measured using the x-ray refraction

(“XRD”) testing methodology. Id. Fedmet was not a party to the S&S

Refractories scope proceeding, which only concerned imports of S&S

Refractories’ bricks.

     13.   On November 27, 2019, an ad hoc entity calling itself the

Magnesia Carbon Bricks Fair Trade Committee (“MCBFTC”), of which

Resco is a member, filed an EAPA allegation claiming Fedmet had

entered subject MCBs from China into the United States without

paying antidumping and countervailing duties by falsely declaring them

as excluded MAC bricks. Based on that allegation, CBP initiated EAPA

Case No. 7412 after conducting lab tests of Fedmet’s bricks from a

warehouse in Ohio. Three months later, CBP notified Fedmet of the

EAPA allegation and the initiation of the investigation.

     14.   On December 3, 2020, CBP determined that Fedmet entered

MCBs as Bastion brand MAC bricks and therefore failed to pay

antidumping and countervailing duties that applied to those products

under the Orders. CBP again relied on lab tests conducted by CBP to

conclude that some tested samples fell within the scope of the orders on

MCBs from China. Additionally, CBP concluded, based on its review of


                                    9
      Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 10 of 15




certain sales documentation, that Fedmet has “mislabeled” shipments

of MCBs as MAC bricks in order to avoid paying cash deposits.

     15.   Fedmet timely requested administrative review of the Final

Determination as to evasion. On April 13, 2021, OR&R found in its

Review Determination that substantial evidence supported the Final

Determination allegedly because the chemical composition of the MAC

bricks that CBP tested placed them within the scope of the Orders.

     16.   Fedmet timely appealed CBP’s EAPA decisions to this Court.

Following the filing of Fedmet’s Rule 56.2 Brief, CBP requested a

voluntary remand of its decisions, which the Court granted. In the

course of the voluntary remand, CBP made a covered merchandise

referral to Commerce pursuant to 19 U.S.C. § 1517(b)(4), requesting

that Commerce determine whether the 11 bricks CBP tested during the

course of the EAPA investigation were MCBs or excluded MAC bricks.

     17.   In the course of the CMI, Fedmet raised a number of issues

regarding the testing methodologies employed by CBP. For example,

the alumina in its MAC bricks in large on the interior of the brick, so

test sampling must be of a cross-section to yield accurate results.

However, the record demonstrates that at least some of CBP’s testing


                                    10
      Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 11 of 15




did not take cross-sections as samples, but simply material from the

exterior of the brick, which is comprised primarily of graphite.

     18.   Fedmet also drew Commerce’s attention to the Court of

Appeals’ opinion in Fedmet, wherein it confirmed that all MAC bricks,

defined as magnesia carbon bricks with added alumina, are out of scope

of the MCB Orders. Fedmet pointed out that Commerce finding that

any of the tested bricks are within the scope of the Orders would be in

direct violation of the Federal Circuits’ holding, and would constitute an

unlawful expansion of the scope of the Orders.

     19.   Finally, Fedmet noted that the S&S Refractories Scope

Ruling, which mandated the use of XRD testing for S&S Refractories’

bricks, was not applicable to Fedmet bricks, which were subject to the

earlier Fedmet Scope Ruling.

     20.   In the CMI Final Results, Commerce found that 2 of the 11

tested bricks are within the scope of the Orders, based in CBP’s

laboratory analysis concluding that those bricks contained less than five

percent based on testing using the XRD testing methodology mandated

in the S&S Refractories Scope Ruling from exterior samples. Commerce

further found that the fact that the samples were from the exterior did


                                   11
      Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 12 of 15
                                                  NON-CONFIDENTIAL


not matter, as the samples were crushed into powder during testing.

Commerce also determined that it did not expand the scope of the

Orders to include MAC bricks because the S&S Refractories Scope

Ruling held that bricks with less than 5 percent added alumina are

outside the scope of the Orders. Finally, Commerce found that it could

not determine whether the other 9 of the 11 bricks are within the scope

of the Orders, despite findings by CBP’s laboratory that the tested

bricks had alumina content ranging from [         ] to [        ] percent,

because the CBP laboratory did not use the preferred XRD methodology

adopted in the S&S Refractories Scope Ruling.

     21.   This appeal follows.

                      STATEMENT OF CLAIMS

                               Count One

     22.   Paragraphs 1 to 21 are incorporated by reference.

     23.   Commerce unlawfully expanded the scope of the Orders by

determining that Fedmet MAC bricks are within the scope of the MCB

Orders.

     24.   Commerce is not permitted to amend the scope of AD/CVD

orders in covered merchandise inquiries, which are interpretive


                                   12
      Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 13 of 15




proceedings. See Fedmet at 921 (“While Commerce enjoys considerable

latitude in clarifying its orders, it may not change the original scope of

its orders through the interpretative process.”).

     25.   The Orders specifically exclude MAC bricks, defined as

magnesia carbon bricks with added alumina. This was confirmed by

the Court of Appeals in Fedmet, which held that all MAC bricks are

outside scope of the Orders. Commerce finding that some MAC bricks

are within the scope of the Orders, which is in direct violation of the

Court of Appeals’ decision in Fedmet, is unsupported by substantial

evidence and otherwise not in accordance with law.

                                Count Two

     26.   Paragraphs 1 to 25 are incorporated by reference.

     27.   Commerce unlawfully modified the Fedmet Scope Ruling by

incorporating a requirement that the alumina content be established

exclusively using the XRD testing methodology that it adopted in the

subsequent S&S Refractories Scope Ruling.

     28.   In the Fedmet Scope Ruling in 2015, Commerce determined

that no specific testing methodology was required to establish the

alumina content of the bricks, and that selection of appropriate testing


                                    13
      Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 14 of 15




methods would be at the discretion of CBP. The S&S Refractories Scope

Ruling in 2017 mandated the XRD testing methodology to establish the

alumina content for the purposes of that scope ruling, which applied

only to specific products produced by S&S Refractories.

     29.   In the instant covered merchandise inquiry, Commerce

claimed it could rely in the S&S Refractories Scope Ruling as a “prior

scope ruling” even though it was decided after the scope ruling

applicable to Fedmet MAC bricks. Commerce therefore circumvented

the limitations imposed by the Court of Appeals for the Fedmet Scope

Ruling by relying on a subsequent scope ruling when considering

whether Fedmet’s imported merchandise constituted non-subject MAC

bricks.

     30.   Commerce’s use of the covered merchandise inquiry process

to substantively modify a prior scope ruling is unsupported by

substantial evidence and otherwise not in accordance with law.

                              Count Three

     31.   Paragraphs 1 to 30 are incorporated by reference.

     32.   Commerce failed to adequately consider issues with the

testing methodologies employed by CBP during the course of the EAPA


                                   14
      Case 1:23-cv-00117-N/A Document 8   Filed 06/09/23   Page 15 of 15




proceeding. Commerce also misunderstood the nature of the use of

refractory bricks and made mistakes of fact as to the application of

chemical testing. Commerce’s CMI Final Results are therefore

unsupported by substantial evidence and otherwise not in accordance

with law.

                         PRAYER FOR RELIEF

     33.    For the foregoing reasons, Plaintiff respectfully requests that

this Court hold Commerce’s CMI Final Results unsupported by

substantial record evidence and otherwise not in accordance with law.

Plaintiff therefore respectfully requests that this Court remand the

CMI Final Results to Commerce to correct the errors set forth in this

Complaint and provide other such relief as this Court deems

appropriate.




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